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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

JEREMY BELL, et al.,

               Plaintiffs,
v.                                                              CV No. 17-954 KG/CG

MADRON SERVICES, INC., et al.,

               Defendants.

     SECOND AMENDED ORDER SETTING TELEPHONIC STATUS CONFERENCE
                    AND SETTLEMENT CONFERENCE

        To facilitate a final disposition of this case, a mandatory settlement conference

will be conducted in accordance with Federal Rule of Civil Procedure 16(a)(5). Due to

the ongoing uncertainty created by the Covid-19 pandemic, and the likelihood that the

need for social distancing will continue through the date of the scheduled settlement

conference in this case, the Court will hold the upcoming settlement conference via

Zoom.

        The settlement conference will be held via Zoom on Thursday, May 14, 2020,

at 9:00 a.m. A telephonic status conference will be held on Monday, May 11, 2020, at

2:00 p.m. to discuss the parties’ positions.

        IT IS HEREBY ORDERED that the parties and a designated representative,

other than counsel of record, with full authority to resolve the case, must attend in

person; counsel who will try the case must also attend in person. All attorneys and

parties involved in the settlement conference must treat as confidential the information

discussed, positions taken, and offers made by other participants in preparation for and

during the conference.
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      IT IS FURTHER ORDERED that:

      1. By April 27, 2020, Plaintiffs’ counsel shall serve on Defendants’ counsel a
         concise letter that sets forth a settlement demand itemizing the principle
         supporting damages or other relief that Plaintiffs assert would appropriately
         be granted at trial.

      2. By May 1, 2020, Defendants’ counsel shall serve on Plaintiffs’ counsel a
         concise letter that sets forth a response to the settlement demand.

      3. By May 6, 2020, each party shall provide to the Court:

             a. A copy of each letter that was sent to an opposing party;

             b. A confidential, concise letter containing an analysis of the strengths
                and weaknesses of its case; and

             c. Any video or audio recordings of the incident upon which this action is
                based.

             d. This letter should also contain the email addresses and phone
                numbers for all participants in the settlement conference. This
                contact information will be used to send the invitation to attend
                the settlement conference via Zoom.

          These materials may be submitted to the Court by email at
          garzaschambers@nmd.uscourts.gov.

      4. Each of these letters typically should be five (5) pages or fewer, and counsel
         will ensure that each party reads the opposing party’s letter before the
         settlement conference.

      5. Before May 11, 2020, counsel shall confer with one another about their
         clients’ respective positions.

      6. On May 11, 2020, at 2:00 p.m., counsel shall call Judge Garza’s AT&T line at
         (877) 810-9415, follow the prompts, and enter access code 7467959, for a
         pre-settlement telephonic status conference.

      7. The Court will send all participants a personal invitation to the Zoom
         meeting once it receives settlement materials from the parties.

      A party must show good cause to vacate or reschedule the settlement

conference. Any such request must provide the Court with sufficient notice to ensure



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that other matters may be scheduled in the time allotted for the settlement conference.

      IT IS SO ORDERED.



                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE




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